        Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 1 of 18




                                    STATEMENT OF FACTS

        Your affiant, Adam Pool, is a Special Agent with the Federal Bureau of Invesitgation
(“FBI”). I have been a Special Agent with the FBI since 2005. I have received training in basic
law enforcement investigation, complex investigations, interviewing, source handling and
surveillance. Through my employment with the FBI, I have gained knowledge in the use of various
investigative techniques including the utilization of physical surveillance, investigative interviews,
financial investigations, the service of Administrative and Grand Jury Subpoenas, and the
execution of search and arrest warrants, including the execution of search warrants involving
electronic evidence. Prior to my career as an FBI agent, I was a commissioned Officer in the United
States Army. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or is based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”

                     Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00

                                                  1
        Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 2 of 18




p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                               Facts Specific to SCOTT MILLER

        According to closed circuit television (“CCTV”), body-worn camera footage from
Metropolitan Police Department (“MPD”) officers, and public source video from the U.S. Capitol
on January 6, 2021, a man later identified as SCOTT MILLER (“MILLER”) assaulted multiple
police officers and stole a U.S. Capitol Police riot shield while outside an entrance to the U.S.
Capitol on the Lower West Terrace, referred to as “the tunnel.” As set out below, there is probable
cause to believe that MILLER committed violations of 18 U.S.C. §§ 111 (assault of a federal
officer); 231(a) (civil disorder); 641 (theft of government property); 1752(a)(1), (2), and (4)
(unlawful entry on restricted buildings or grounds); and 40 U.S.C. §§ 5104(e)(2)(D), (E) and (F)
(disorderly conduct).

   A. BOLO #132’s Assaults on Officers and Theft of Government Property on January 6,
      2021

       According to video footage taken at the U.S. Capitol on January 6, 2021, at approximately
4:16 p.m., a man who was wearing orange ski goggles, a black hooded sweatshirt, a tan coat, a tan
backpack, a black and red neck gaiter, dark-colored pants, and black gloves appeared near the
tunnel where rioters were actively pushing against the police line in an effort to breach the U.S.
Capitol building. The FBI subsequently posted images of this individual under BOLO #132 to its
website and asked the public’s assistance in identifying him. Below is a still image from CCTV
footage depicting BOLO #132 at the tunnel:




                                                 2
Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 3 of 18
        Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 4 of 18




her/him with the pole that he was swinging. S/he stated s/he believed BOLO #132 hit her/him on
the helmet.

         According to CCTV footage, at approximately 4:31 p.m., BOLO #132 was located at the
south side of the tunnel where he began to throw objects into the tunnel at MPD officers. Below is
a still image taken from a public video (“Public Video 1”) 1 depicting BOLO #132 throwing what
appears to be a pipe or a pole into the tunnel at officers:




       Below is another still image from Public Video 1 depicting BOLO #132 throwing what
appears to be a bottle into the tunnel and at officers:




1
  Public Video 1 is available at https://www.youtube.com/watch?v=zcRFEYnHWyM. Public
Video 1 does not have timestamps, however, I have estimated the approximate time of the events
depicted in Public Video 1 by comparing it with CCTV and body worn camera footage depicting
the same events.
                                                4
       Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 5 of 18




      Below is another still image from Public Video 1 depicting BOLO #132 throwing another
wooden object into the tunnel and at officers:




       Below is another still image from Public Video 1 depicting BOLO #132 throwing a large
black box, potentially a speaker, into the tunnel and at officers:


                                             5
        Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 6 of 18




        Below is another still image from Public Video 1 depicting BOLO #132 throwing an item
of clothing into the tunnel and at officers:




        After throwing these items into the tunnel, at approximately 4:33 p.m., BOLO #132 then
assaulted a number of officers by striking them with a large blue and white pole. Below are still
images from CCTV and Public Video 1, respectively, depicting BOLO #132’s assaults:

                                               6
Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 7 of 18
        Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 8 of 18




        After striking officers with the blue and white pole, BOLO #132 then grabbed ahold of a
U.S. Capitol Police riot shield being held by two officers (“Officer 1” and “Officer 2”) and after a
brief struggle, forcibly pulled the U.S. Capitol Police riot shield out of the officers’ grip. In the

                                                 8
Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 9 of 18
      Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 10 of 18




     Below is a still image from CCTV captured approximately two seconds later depicting
BOLO #132 pulling the riot shield away from officers:




        According to CCTV footage, BOLO #132 then took the shield and handed it to someone
in the crowd before disappearing into the crowd. Below is a still image from Public Video 1
depicting BOLO #132 holding the U.S. Capitol Police riot shield in the crowd:




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       Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 11 of 18




        On or about November 22, 2022, law enforcement interviewed Officer 1 and Officer 2
separately. During Officer 1’s interview, Officer 1 was shown body-worn camera footage and
CCTV footage depicting BOLO #132 taking the riot shield. Officer 1 confirmed that s/he was one
of the officers holding the riot shield. Officer 1 also stated that s/he recognized BOLO #132 as the
individual who took the shield from her/him and another officer. Similarly, Officer 2 was also
shown body-worn camera footage and CCTV footage depicting BOLO #132 taking the riot shield.
Officer 2 stated that s/he recognized the gloves of BOLO #132 as the gloves of one of the
individuals who took the shield from her/him.

       Another public video (“Public Video 2”) 2 depicts BOLO #132, who was still located near
the tunnel, removing his goggles. Below are zoomed still images from Public Video 2:




2
 Public Video 2 is available at https://www.youtube.com/watch?v=nVvWFCQyPXA&t=75s.
Public Video 2 does not have timestamps.
                                                11
       Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 12 of 18




      Additionally, law enforcement obtained photographs from a confidential human source
(“CHS”) 3 that were taken by an anonymous photographer on the grounds of the U.S. Capitol on


3
 CHS is an established source who is on a team of open-source researchers who began
collaborating shortly after January 6th, 2021, to identify Capitol rioters. CHS' group is motivated
by a desire to assist law enforcement regarding the events of January 6, 2021 at the U.S. Capitol.
CHS has provided multiple pieces of corroborated information. CHS does not have personal
                                                12
Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 13 of 18
Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 14 of 18
       Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 15 of 18




       On or about April 26, 2022, law enforcement spoke with an individual who worked at
Company A (“Employee 2”). During the interview, Employee 2 viewed multiple photographs of
MILLER, including photographs from January 6, 2021. When shown the below photograph,
Employee 2 stated that the individual looked like MILLER but also looked like another individual
s/he knew. S/he stated that the man in the photograph looked more like MILLER than the other
individual s/he knows. 4




Employee 2 positively identified the man in the below two photographs as MILLER. Employee 2
stated, “Never seen him so red in the face before but looks like Miller.”




4
 The FBI received tips from other members of the public regarding the photographs of FBI BOLO
#132. A number of these tips identified the photographs as depicting an individual other than
MILLER.
                                              15
      Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 16 of 18




      Employee 2 also identified XXX-XXX-8070 as MILLER’s phone number.

       On or about April 27, 2022, law enforcement interviewed another employee from
Company A (“Employee 3”). During the interview, law enforcement showed Employee 3, the
below photograph and Employee 3 stated that the photograph looked familiar, like MILLER.




                                          16
       Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 17 of 18




        Employee 3 was shown other photographs of MILLER, including photographs from
January 6, 2021 and Employee 3 identified each photograph as depicting MILLER and stated that
s/he recognized the jacket MILLER was wearing on January 6, 2021.

                                        CONCLUSION

         Based on the foregoing, your affiant submits there is probable cause to believe that SCOTT
MILLER violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to (a) forcibly assault,
resist, oppose, impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as
an officer or employee of the United States while engaged in or on account of the performance of
official duties; and (b) use a deadly or dangerous weapon or inflict bodily injury during such
assault.

        Your affiant submits there is also probable cause to believe that MILLER violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

       Your affiant further submits there is probable cause to believe that MILLER violated 18
U.S.C. § 641, which makes it a crime for a person to embezzle, steal, purloin, or knowingly convert

                                                17
       Case 1:22-mj-00276-RMM Document 1-1 Filed 12/14/22 Page 18 of 18




to his use or the use of another, or without authority, sell, convey or dispose of any record, voucher,
money, or thing of value of the United States or of any department or agency thereof, or any
property made or being made under contract for the United States or any department or agency
thereof; or receive, conceal, or retain the same with intent to convert it to his use or gain, knowing
it to have been embezzled, stolen, purloined or converted.
         Your affiant also submits that there is probable cause to believe that MILLER violated 18
U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; and (4) knowingly engages in any act of physical violence against
any person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.
       Finally, your affiant submits there is also probable cause to believe that MILLER violated
40 U.S.C. § 5104(e)(2)(D), (E), and (F), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the
Capitol Buildings; and (F) engage in an act of physical violence in the Grounds or any of the.
Capitol Buildings.



                                                       _________________________________
                                                       Adam Pool
                                                       Special Agent
                                                       Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of December 2022.
                                                       Robin M.           Digitally signed by Robin
                                                                         M. Meriweather

                                                       Meriweather       Date: 2022.12.14
                                                       ___________________________________
                                                                         14:15:07 -05'00'
                                                       Honorable Robin M. Meriweather
                                                       U.S. MAGISTRATE JUDGE




                                                  18
